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EXHIBIT 4
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David Corrigan

From: David Corrigan

Sent: Wednesday, May 04, 2011 10:28 AM
To: ‘Robert H. Smallenberg

Subject: RE: Burton v. Ford

Rob

| would like to proceed on the 13". If the answers are given to me that day, then | can work with that.

Thanks.
David

From: Robert H. Smallenberg [mailto:rsmallenbera@metrolawya.com]
Sent: Wednesday, May 04, 2011 10:05 AM

To: David Corrigan

Subject: Re: Burton v. Ford

David,
I got ahold of Sakia Hall yesterday. She reports that they have a new address and that she has not received
anything I mailed to her prior address to include discovery requests, notice of the depositions and my letter

telling her to call us.

I emailed a copy of the discovery requests to her yesterday and imposed on her the importance of answering
quickly. However, we will likely have to move the depositions set for May 13.

Please let me know your thoughts.
Thanks,

Rob

Sent from my iPhone

On May 3, 2011, at 11:26 AM, "David Corrigan" <dcorrigan@hcew,.com> wrote:

Rob —

We have sent deposition notices for your clients - Ky’ss Burton and her mother — for
Friday May 13 at the city attorney’s office. Are they going to be there?
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I also note that we still have not received an Initial Disclosure nor responses to written
discovery from you.

Please contact me to discuss.

David

David P. Corrigan

Harman, Claytor, Corrigan & Wellman, P.C.
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Richmond, Virginia 23255

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